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   Plaintiff’s Response: In Plaintiffs’ March 25, 2025 Response to Defendants’ First

   Compliance Report, (ECF No. 224-1) Plaintiffs noted that five aspects of the USCIS

   memorandum violated the Settlement Agreement. Plaintiffs first raised these issues

   to Defendants by letter on March 22, 2025. (ECF No. 224-1). On April 28, 2025,

   Defendants responded via email to Plaintiffs’ March 22, 2025 letter, agreeing to

   amend the USCIS memorandum to address two of the five issues Plaintiffs had

   raised. On May 8, 2025, the parties met and conferred regarding the open

   deficiencies with the USCIS memorandum, and after the meet-and-confer Plaintiffs

   provided Defendants proposed redlines to address several of the open issues. On

   May 23, 2025, counsel for Defendants indicated that they intend to respond to the

   proposed redlines the week of May 26. Plaintiffs await Defendants’ response.

   Defendants’ Response: Plaintiffs listed five issues in their March 25, 2025 letter

   (ECF 224-1). These issues are associated with the USCIS implementing

   Memorandum and Affirmative Asylum Procedures Manual (AAPM) (last updated

   Feb. 2025). Parties have reached agreement on three of the five issues:

   1) Issue 2: Defendants agree that USCIS will edit the implementing Memo and
      Affirmative Asylum Procedure Manual (AAPM) to clarify that USCIS does not
      apply the one-year filing deadline to applications that were filed by J.O.P. class
      members or by an applicant whose Unaccompanied Alien Children (UAC)
      determination is “still in place” at the time of filing, i.e., the applicant was not
      placed in adult immigration detention before filing the application.

   2) Issue 3: Defendants agree with plaintiffs proposed language which will now
      read “Pursuant to the J.O.P. settlement agreement, in assessing the jurisdiction
      over asylum application filed by individuals with prior UAC determinations,
      USCIS cannot defer determinations made by EOIR, including but not limited to
      determinations that the immigration judge has initial jurisdiction over the
      applicant’s asylum application made pursuant to Matter of M-A-C-O-, 27 I&N
      Dec. 477 (BIA 2018), unless EOIR determined that the applicant was a UAC at
      the time of filing their asylum application such that USCIS has jurisdiction over
      their asylum application, in which case USCIS may adopt the UAC
      determination.

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   3) Issue 5: Defendants agree that to comply with the settlement agreement (ECF
      199-2), USCIS must complete the entire section III.C.2 (ECF 199-2 at 7) process
      for impacted class members which means that on or before September 26, 2025
      USCIS shall provide impacted class members a compliant “Notice of Lack of
      UAC Jurisdiction Determination Due to Adult Immigration Detention and
      Opportunity to Rebut,” await the 33 day rebuttal period, and retract the
      adversarial Jurisdictional Determination within 30 days of reeving the rebuttal if
      the Class Member successfully rebuts the information USCIS relied upon to
      reject jurisdiction.

   The parties are continuing to discuss how to resolve two issues:

   1) Issue 1: Defendants are considering Plaintiffs requested change of language in
      the USCIS implementing memorandum to state that an applicant’s placement in
      adult immigration detention before having filed their asylum application with
      USCIS or EOIR is the only circumstance in which USCIS may reject jurisdiction
      of an asylum application filed by an individual with a prior Unaccompanied
      Child (UC) determination.

   2) Issue 4: Defendants are considering Plaintiffs proposal they will drop their
      request for a special expedite process so long as Defendants add proposed
      language to clarify that UAC as used in the USCIS implementing memorandum
      includes all those with prior UC determination who had not been placed in adult
      immigration detention before they filed their asylum application.


B. [Relating to Paragraph III.B]

   Text of Defendant’s Second Compliance Report: USCIS has complied with

   Paragraph III.B of the Settlement Agreement in determining jurisdiction over

   Class Members’ asylum applications. During this reporting period Defendants

   were made aware of three instances in which class members allegedly received an

   erroneous jurisdictional rejection of their asylum application from USCIS.

   Defendants have provided a response to these allegations and since taken any

   necessary corrective action in each of these instances.

   Plaintiffs’ Response: Plaintiffs have raised to Defendants at least fifteen cases in

   which USCIS has failed to comply with Paragraph III.B of the Settlement

   Agreement by wrongfully rejecting Class Members’ asylum applications, between
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   the Agreement’s effective date and April 21, 2025. Ten of those cases were raised

   by Plaintiffs after the March 25, 2025 Response to Defendants’ First Compliance

   Report, ECF No. 224. Defendants have taken corrective action in most but not all

   of the cases.

   Defendants’ Response: Defendants continue to address and when required

   take necessary actions regarding alleged violations brought to their attention by

   Plaintiffs, in accordance with the Settlement Agreement (ECF 199-2 at 14,

   Section V.D). For the period of February 25, 2025 to April 24, 2025,

   Defendants have taken corrective action regarding the alleged violations of

   erroneous jurisdictional rejection.

C. [Relating to Paragraph III.C]

   Text of Defendant’s Second Compliance Report: USCIS has issued Adverse

   Jurisdictional Determinations to two Class Members based on USCIS’s determination

   that EOIR has jurisdiction because the Class Member did not meet the statutory UAC

   definition (found at 6 U.S.C. § 279(g)(2)) at the time of filing their asylum application.

   USCIS certifies those determinations were issued pursuant to Paragraph III.C of the

   Settlement Agreement (ECF 199-2 at 7,8), in that the basis for each Adverse

   Jurisdictional Determination was the Class Member’s placement in adult immigration

   detention after a Prior UAC Determination but before filing their asylum application.

   Plaintiffs’ Response: Plaintiffs have brought to Defendants’ attention at least eleven

   cases, in which USCIS has rejected Class Members’ asylum applications due to an

   erroneous claim that EOIR has jurisdiction, in violation of the Settlement Agreement,

   between the Settlement Agreement’s effective date and April 21, 2025. None of those

   rejections complied with the procedures set forth in Paragraph III.C of the Settlement

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   Agreement. Plaintiffs await Defendants’ corrective action in one of these cases.

   Defendants’ Response: Defendants continue to address and when required take

   necessary correction action regarding alleged violations brought to their attention by

   Plaintiffs, in accordance with the Settlement Agreement (ECF 199-2 at 14, Section

   V.D). For the period of February 25, 2025 to April 24, 2025, Defendants have taken

   corrective action regarding the alleged violations of Adverse Jurisdictional

   Determinations.

D. [Relating to Paragraph III.D]

   Text of Defendants’ First Compliance Report: USCIS has complied with

   Paragraph III.D of the Settlement Agreement in determining its jurisdiction over

   Class Members’ asylum applications.

   Plaintiffs’ Response: During this reporting period, Plaintiffs have received no

   complaints from Class Members related to suspected violations of Paragraph III.D

   of the Settlement Agreement (ECF 199-2 at 8).

   Defendants’ Response: No response required

E. [Relating to Paragraph III.E]

      1. [Relating to Paragraph III.E.1]

          Text of Defendants’ First Compliance Report: As of April 21, 2025,

          USCIS has retracted Adverse Jurisdictional Determinations in the cases of

          19 Class Members, as required by Paragraph III.C.2 (ECF 199-2 at 7,8) of

          the Settlement Agreement. As of April 21, 2025, USCIS has fully complied

          with Paragraph III.E.1 of the Settlement Agreement (ECF 199-2 at 8).

          Plaintiffs’ Response: Since Defendants’ deadline for compliance with

          Paragraph III.E.1 (ECF 199-2 at 8) of the Settlement Agreement has not yet

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          passed, Plaintiffs agree that Defendants have not violated Paragraph III.E.1.

           Defendants’ Response: No response required

      2. [Relating to Paragraph III.E.2]

          Text of Defendants’ First Compliance Report: As of April 21, 2025, USCIS

          has retracted Adverse Jurisdictional Determinations in the cases of 216 Class

          Members, as required by Paragraphs III.B (ECF 199-2 at 7) and/or III.D (ECF

          199-2 at 8) of the Settlement Agreement. As of April 21, 2025, USCIS has fully

          complied with Paragraph III.E.2 (ECF 199-2 at 8) of the Settlement Agreement.

          Plaintiffs’ Response: Since Defendants’ deadline for compliance with

          Paragraph III.E.2 of the Settlement Agreement has not yet passed, Plaintiffs

          agree that Defendants have not violated Paragraph III.E.2.

          Defendants’ Response: No response required

      3. [Relating to Paragraph III.E.3]

          Text of Defendants’ First Compliance Report: As of April 21, 2025,

          USCIS has mailed notices of re-examination of jurisdictional determinations to

          996 Class Members. As of April 21, 2025, USCIS has fully complied with

          Paragraph III.E.3 (ECF 199-2 at 8) of the Settlement Agreement.

          Plaintiffs’ Response: Plaintiffs are not aware of any Class Members who

          were entitled to a notice of re-examination of jurisdiction under Paragraph

          III.E.3 but did not receive one.

          Defendants’ Response: No response required

F. [Relating to Paragraph III.F]

   Text of Defendants’ First Compliance Report: As of April 21, 2025, USCIS has

   mailed notices to 1871 Class Members notifying them that USCIS has released a hold

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   placed on the application in or after March 2021. As of April 21, 2025, USCIS has fully

   complied with Paragraph III.F (ECF 199-2 at 8) of the Settlement Agreement.

   Plaintiffs’ Response: Plaintiffs have received no complaints from Class Members who

   were expecting a hold release notice under Paragraph III.F but did not receive one.

   However, Class Members whose cases had been placed on hold likely did not know their

   case was on hold; thus Plaintiffs are not in a position to confirm or dispute the veracity

   of Defendants’ representation of compliance with Paragraph III.F.

    Defendants’ Response: No response required

G. [Relating to Paragraph III.G]

   Text of Defendants’ First Compliance Report: As of February 25, 2025, USCIS has

   adopted procedures for expediting Class Members’ cases as provided under Paragraph

   III.G (ECF 199-2 at 9) of the Settlement Agreement. The public may find those

   procedures online under the related links tab at

   https://www.uscis.gov/humanitarian/refugees-and-asylum/asylum/minor-children-

   applying-for-asylum-by-themselves.

   Plaintiffs’ Response: In Plaintiffs’ March 25, 2025 Response to Defendants’ First

   Compliance Report, (ECF No. 224), Plaintiffs noted that Defendants had failed to adopt

   special expedite procedures as required by Paragraph III.G of the Settlement Agreement.

   Plaintiffs informed Defendants of this violation via the March 22, 2025 letter referenced in

   Paragraph A above, and the parties met and conferred regarding this and other issues with

   the USCIS memorandum on May 8, 2025. Plaintiffs await Defendants’ response.

    Defendants’ Response: Plaintiffs original proposal called for Defendants to

   administer a special expedite process. Plaintiffs clarified that they are asking

   Defendants to add proposed language to clarify that UAC as used in the USCIS

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            implementing memorandum includes all those with prior UC determination who had

            not been placed in adult immigration detention before they filed their asylum

            application. Plaintiffs also ask that when they become aware of instances where

            USCIS’s treatment of a Class Members’ expedite process is not compliant with

            paragraph III.G of the Settlement Agreement, they may raise those issues to

            Defendants attention. Defendants are considering this proposal.


Dated: June 26, 2025                      Respectfully Submitted,

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